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                                                     March 28, 2019


VIA ELECTRONIC FILING

The Honorable G. Michael Harvey
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

       Re: United States v. All Assets, et. al., No. 1:04-CV-00798 PLF/GMH (D.D.C.)

Dear Magistrate Judge Harvey:

        Counsel for the Lazarenko children acknowledges that a response to the government’s
Second Set of Requests for Production of Documents, dated February 16, 2018, was not
provided to the government prior to the stay of discovery entered in this case to facilitate
resolution of the case by mediation and agreement. Counsel is working with her clients to
respond to the Requests and does not expect that additional responsive documents will be
identified.
        Counsel expects to be able to submit a response to the government within the next 24
hours and would be happy to notify your chambers when the response is provided.

                                                     Sincerely yours,

                                                     Emily R. Beckman
